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                      UNITED STATES DISTRICT COURT

                       SOUTHERN DISTRICT OF TEXAS

                              HOUSTON DIVISION



UNITED STATES OF AMERICA                  '
                                          '
      v.                                  '   CRIMINAL NO. H-03-437
                                          '                H-03-437S
HIRAM ALANIZ-ESCALANTE                    '

                             MOTION TO DISMISS

      COMES NOW the United States of America, by and through its United States

Attorney, Kenneth Magidson, and moves this Court to dismiss the charges in

Indictment H-03-437 and superseding indictment H-03-437S, filed against Hiram

Alaniz-Escalante, under Rule 48(a) of the Rules of Criminal Procedure for the

following reasons:

      The defendant was indicted by a federal grand jury on November 19, 2003,

and subsequently charged in a superseding indictment on September 8, 2004. The

defendant, Alaniz-Escalante, was charged with one count of conspiracy to possess

with the intent to distribute marijuana and one count of possession with the intent to

distribute less than 50 kilograms of marijuana, in violation of 21 USC 841 (b)(1)(D).

Alaniz-Escalante has remained a fugitive since the date of the initial indictment. The

government has determined that the federal interest in pursuing the defendant is no
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longer present.

      For the reasons stated, the United States requests that this Motion to Dismiss

the charges in indictment H-03-437 and H-03-437S against Defendant, HIRAM

ALANIZ-ESCALANTE be GRANTED.

                                      Respectfully submitted,

                                      KENNETH MAGIDSON
                                      United States Attorney

                                By:   /s/ STUART A. BURNS
                                      STUART A. BURNS
                                      Assistant United States Attorney
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                   UNITED STATES DISTRICT COURT

                    SOUTHERN DISTRICT OF TEXAS

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UNITED STATES OF AMERICA             '
                                     '
     v.                              ' CRIMINAL NO. H-03-437
                                     '              H-03-437S
HIRAM ALANIZ-ESCALANTE               '

                                 ORDER

     The government's Motion to dismiss the charges in indictment H-03-437 and

H-03-437S against Defendant HIRAM ALANIZ-ESCALANTE is GRANTED.

     SIGNED on this ____ day of ___________, 2014, at Houston, Texas.



                                   __________________________________
                                   DAVID HITTNER
                                   UNITED STATES DISTRICT JUDGE
